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                    Exhibit F
       Case
        Case5:15-cv-06264-EGS
              1:11-cv-01082-ESH Document
                                 Document64-10
                                          18 Filed
                                               Filed10/24/13
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                                                               Page1 2ofof1 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
             Plaintiff,                   )
                                          )
ex rel. JOHN DOE,                         )
                                          ) Civil Action No. 11-1082 (ESH)
             Relator,                     )
                                          )
             v.                           )
                                          )
BOSTON SCIENTIFIC, et al.,                )
                                          )
            Defendants.                   )
__________________________________________)


                                            ORDER

       The above-captioned action has remained under seal due to the filing of a related action

in the Southern District of Texas. (See Order Requiring Case To Remain Under Seal, July 18,

2013 [ECF No. 17].) Plaintiff has notified the Court that the related action has been unsealed.

See Order, United States v. St. Jude Medical, No. 4:13cv2072 (S.D. Tex. Sept. 3, 2013).

Accordingly, it is hereby

       ORDERED that the above-captioned action is UNSEALED in its entirety.



                                                                /s/
                                                     ELLEN SEGAL HUVELLE
                                                     United States District Judge

Date: October 24, 2013
